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Case Name:       Kelly v. K12 Inc., et al
Case Number: 20‐7046
Document(s):     Document(s)




Docket Text:
[10761883] Record on appeal filed. No. of Volumes: 1, Comments: Vol I ‐ Pleadings. [20‐7046] (MLB)

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